Case 8:07-cr-00194-JSM-TGW Document 254 Filed 06/16/11 Page 1 of 6 PageID 605
Case 8:07-cr-00194-JSM-TGW Document 254 Filed 06/16/11 Page 2 of 6 PageID 606
Case 8:07-cr-00194-JSM-TGW Document 254 Filed 06/16/11 Page 3 of 6 PageID 607
Case 8:07-cr-00194-JSM-TGW Document 254 Filed 06/16/11 Page 4 of 6 PageID 608
Case 8:07-cr-00194-JSM-TGW Document 254 Filed 06/16/11 Page 5 of 6 PageID 609
Case 8:07-cr-00194-JSM-TGW Document 254 Filed 06/16/11 Page 6 of 6 PageID 610
